          Case 2:18-cr-00422-SPL Document 103 Filed 04/19/18 Page 1 of 2



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 6                        IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8
 9   United States of America,                      No. CR-18-00422-001-PHX-SPL
10                  Plaintiff,                        ORDER
11   v.
12   Michael Lacey,
13                  Defendant.
14
15            The Court has considered Defendant’s Motion to File Under Seal (Doc. 56), and
16   Amended Motion to File Under Seal (Doc. 83), and finding good cause,
17            IT IS ORDERED that Defendant’s Motion to File Under Seal (Doc. 56) and
18   Amended Motion to File Under Seal (Doc. 83) are GRANTED as follows:
19            1.    The Clerk of Court is directed to file the Exhibits A-E attached to
20   Defendants Notice of Errata (Doc. 57) as the exhibits to Defendant’s Response in
21   Opposition to the Government’s Motion for Pretrial Detention. (Doc. 23.) The Clerk is
22   further directed that Exhibit D, lodged at Doc. 57-1 at 40-44, shall be filed under seal.
23   The Clerk shall file Exhibits A, B, C, and E, lodged at Doc. 57-1 at 2, 4-18, 20-38, and
24   46-50, in the public record.
25            2.    The Clerk of Court is directed to strike Exhibits A-K filed with Defendant’s
26   Opposition to the Government’s Motion for Pretrial Detention. (Doc. 23-1 at 1-144.)
27   Although stricken by this Order, Exhibits A-D, G, and H-K may be filed in the public
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      Case 2:18-cr-00422-SPL Document 103 Filed 04/19/18 Page 2 of 2



 1   record, but Exhibits E and F, lodged at Doc. 57-1 at 74-96 and 98-100, shall be filed
 2   under seal.
 3          Dated this 18th day of April, 2018.
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